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                                 UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEW JERSEY
                                                (973) 776-7700
            CHAMBERS OF                                                        U.S. COURTHOUSE
    JAMES B. CLARK, III                                                        50 WALNUT ST. ROOM 2060
UNITED STATES MAGISTRATE JUDGE                                                 NEWARK, NJ 07102




                                                 August 6, 2024

                                               LETTER ORDER

      Re:      Garmon v. Community Loan Servicing, LLC, et al.
               Civil Action No. 22-5974 (ES)

      Dear Counsel,

      The Court orders the following:

      1) Fact discovery shall be completed by October 31, 2024.

      2) The telephone conference scheduled in this matter for August 22, 2024 at 10:30 AM is

            adjourned to October 9, 2024 at 10:30 AM. Counsel for Plaintiff shall initiate the call. Prior

            to the call, the parties shall exchange settlement positions.


      IT IS SO ORDERED.

                                                               s/ James B. Clark, III
                                                           JAMES B. CLARK, III
                                                           United States Magistrate Judge
